                         Case 1-21-42983-jmm                Doc 1        Filed 11/30/21           Entered 11/30/21 14:25:34



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                2123 Partners, LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  15 Hopping Avenue
                                  Staten Island, NY 10307
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Richmond                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                        Case 1-21-42983-jmm                      Doc 1       Filed 11/30/21              Entered 11/30/21 14:25:34

Debtor    2123 Partners, LP                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     1933 Associates LP                                              Relationship            Related
                                                             Eastern District of
                                                  District   New York                      When                              Case number, if known

Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                    Case 1-21-42983-jmm       Doc 1       Filed 11/30/21          Entered 11/30/21 14:25:34

Debtor   2123 Partners, LP                                                      Case number (if known)
         Name




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                   page 3
                     Case 1-21-42983-jmm                     Doc 1         Filed 11/30/21            Entered 11/30/21 14:25:34

Debtor   2123 Partners, LP                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                      Case 1-21-42983-jmm                   Doc 1         Filed 11/30/21            Entered 11/30/21 14:25:34

Debtor    2123 Partners, LP                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 29, 2021
                                                  MM / DD / YYYY


                             X   /s/ Corey M. Berman                                                      Corey M. Berman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Limited Partner




18. Signature of attorney    X   /s/ Bruce Weiner                                                          Date November 29, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bruce Weiner
                                 Printed name

                                 Rosenberg Musso & Weiner, LLP
                                 Firm name

                                 26 Court Street
                                 Suite 2211
                                 Brooklyn, NY 11242
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     718-855-6840                  Email address      courts@nybankruptcy.net


                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                      Case 1-21-42983-jmm                            Doc 1   Filed 11/30/21    Entered 11/30/21 14:25:34



                                                               United States Bankruptcy Court
                                                                     Eastern District of New York
 In re      2123 Partners, LP                                                                             Case No.
                                                                                 Debtor(s)                Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Corey M. Berman, declare under penalty of perjury that I am the Limited Partner of 2123 Partners, LP, and
that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the day of , 20 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Corey M. Berman, Limited Partner of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Corey M. Berman, Limited Partner of this Corporation is authorized and directed
to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts
and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

        Be It Further Resolved, that Corey M. Berman, Limited Partner of this Corporation is authorized and directed
to employ Bruce Weiner, attorney and the law firm of Rosenberg Musso & Weiner, LLP to represent the corporation
in such bankruptcy case."

 Date      November 29, 2021                                                   Signed /s/Corey M. Berman
                                                                                        Corey M. Berman




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                      Case 1-21-42983-jmm                             Doc 1     Filed 11/30/21     Entered 11/30/21 14:25:34



                                                                     Resolution of Board of Directors
                                                                                    of
                                                                              2123 Partners, LP




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Corey M. Berman, Limited Partner of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

         Be It Further Resolved, that Corey M. Berman, Limited Partner of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
with such bankruptcy case, and

        Be It Further Resolved, that Corey M. Berman, Limited Partner of this Corporation is authorized and directed
to employ Bruce Weiner, attorney and the law firm of Rosenberg Musso & Weiner, LLP to represent the corporation
in such bankruptcy case.

 Date      November 29, 2021                                                       Signed    /s/Corey M. Berman
                                                                                             Corey M. Berman


 Date      November 29, 2021                                                       Signed




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                      Case 1-21-42983-jmm                            Doc 1        Filed 11/30/21            Entered 11/30/21 14:25:34




 Fill in this information to identify the case:

 Debtor name         2123 Partners, LP

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 29, 2021                       X /s/ Corey M. Berman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Corey M. Berman
                                                                       Printed name

                                                                       Limited Partner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                           Case 1-21-42983-jmm                        Doc 1        Filed 11/30/21               Entered 11/30/21 14:25:34



 Fill in this information to identify the case:
 Debtor name 2123 Partners, LP
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 City of Philadelphia                                                                                                  $8,127.00                       $0.00                $8,127.00
 Dept. of Licenses
 and
 Inspections
 1401 JFK Blvd, 11th
 Floor
 Philadelphia, PA
 19102
 City of Philadelphia                                                                                                  $3,493.22                       $0.00                $3,493.22
 Law Dept
 Attn: Jugement
 Payoffs
 1515 Arch Stret,
 15th Fl.
 Philadelphia, PA
 19102
 City of Philadelphia                                                                                                  $1,827.00                       $0.00                $1,827.00
 Offic of
 Administative
 Review - Code Unit
 913 Filbert Street
 Philadelphia, PA
 19107
 City of Philadelphia                                                                                                  $1,227.00                       $0.00                $1,227.00
 Dept. of Licenses &
 Inspections
 1401 JFK Blvd, 11th
 Floor
 Philadelphia, PA
 19102
 Commonwealth of                                                                                                       $6,009.81                       $0.00                $6,009.81
 PA
 City of Phila
 BusinessTax
 1401 JFK Blvd
 Concourse Level
 Philadelphia, PA
 19102

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                           Case 1-21-42983-jmm                        Doc 1        Filed 11/30/21               Entered 11/30/21 14:25:34




 Debtor    2123 Partners, LP                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Commonwealth of                                                                                                       $4,059.93                       $0.00                $4,059.93
 PA
 City of Philadelphia
 Water Revenue
 Dept.
 1401 JFK Blvd, 5th
 Floor
 Philadelphia, PA
 19102
 PECO                                                            Premises: 1909                                                                                               $551.62
 2310 Market St.                                                 Green St.
 Philadelphia, PA
 19101
 PECO                                                            Premises: 2125                                                                                               $550.99
 2310 Market St.                                                 Spring Garden St.
 Philadelphia, PA
 19101
 PECO                                                            Premises: 2123                                                                                               $476.74
 2301 Market St.                                                 Spring Garden St.
 Philadelphia, PA
 19101
 Philadelphia Gas                                                Premises: 2123                                                                                               $384.74
 Works                                                           Spring Garden
 P.O. Box 11700                                                  Street
 Newark, NJ 07101
 Philadelphia Gas                                                Premises: 2125                                                                                             $1,462.50
 Works                                                           Spring Garden
 P.O. Box 11700                                                  Street
 Newark, NJ 07101




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                          Case 1-21-42983-jmm                                      Doc 1               Filed 11/30/21                         Entered 11/30/21 14:25:34


 Fill in this information to identify the case:

 Debtor name            2123 Partners, LP

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        5,500,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            33,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        5,533,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,043,203.58


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$              3,426.59


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,046,630.17




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                      Case 1-21-42983-jmm                            Doc 1    Filed 11/30/21         Entered 11/30/21 14:25:34


 Fill in this information to identify the case:

 Debtor name         2123 Partners, LP

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                             debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                   0.00   -                                0.00 = ....                 Unknown
                                              face amount                         doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 1
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                      Case 1-21-42983-jmm                            Doc 1   Filed 11/30/21         Entered 11/30/21 14:25:34


 Debtor         2123 Partners, LP                                                             Case number (If known)
                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Appliances                                                                       $0.00                                       $33,000.00



 51.       Total of Part 8.                                                                                                         $33,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                      Case 1-21-42983-jmm                            Doc 1    Filed 11/30/21         Entered 11/30/21 14:25:34


 Debtor         2123 Partners, LP                                                              Case number (If known)
                Name

            Description and location of                   Nature and           Net book value of       Valuation method used   Current value of
            property                                      extent of            debtor's interest       for current value       debtor's interest
            Include street address or other               debtor's interest    (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 2123 Spring Garden
                     St. - Value
                     $1,500,000.00
                     2125 Spring Garden
                     St. - Value
                     $1,500,000.00
                     1909 Green St - Value
                     $2,500,000.00                                                           $0.00                                     $5,500,000.00




 56.        Total of Part 9.                                                                                                        $5,500,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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                        Case 1-21-42983-jmm                               Doc 1           Filed 11/30/21                    Entered 11/30/21 14:25:34


 Debtor          2123 Partners, LP                                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $33,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,500,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $33,000.00          + 91b.            $5,500,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,533,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Fill in this information to identify the case:

 Debtor name         2123 Partners, LP

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   City of Philadelphia                           Describe debtor's property that is subject to a lien                     $3,493.22                     $0.00
       Creditor's Name
       Law Dept
       Attn: Jugement Payoffs
       1515 Arch Stret, 15th Fl.
       Philadelphia, PA 19102
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0217
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   City of Philadelphia                           Describe debtor's property that is subject to a lien                     $1,227.00                     $0.00
       Creditor's Name
       Dept. of Licenses &
       Inspections
       1401 JFK Blvd, 11th Floor
       Philadelphia, PA 19102
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0122


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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                         Case 1-21-42983-jmm                         Doc 1        Filed 11/30/21             Entered 11/30/21 14:25:34


 Debtor       2123 Partners, LP                                                                       Case number (if known)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   City of Philadelphia                           Describe debtor's property that is subject to a lien                     $1,827.00         $0.00
       Creditor's Name
       Offic of Administative
       Review - Code Unit
       913 Filbert Street
       Philadelphia, PA 19107
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0075
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   City of Philadelphia                           Describe debtor's property that is subject to a lien                     $8,127.00         $0.00
       Creditor's Name
       Dept. of Licenses and
       Inspections
       1401 JFK Blvd, 11th Floor
       Philadelphia, PA 19102
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0151
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Commonwealth of PA                             Describe debtor's property that is subject to a lien                     $6,009.81         $0.00
       Creditor's Name
       City of Phila BusinessTax
       1401 JFK Blvd
       Concourse Level
       Philadelphia, PA 19102

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 4
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                         Case 1-21-42983-jmm                         Doc 1        Filed 11/30/21             Entered 11/30/21 14:25:34


 Debtor       2123 Partners, LP                                                                       Case number (if known)
              Name

       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0590
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Commonwealth of PA                             Describe debtor's property that is subject to a lien                     $4,059.93            $0.00
       Creditor's Name
       City of Philadelphia
       Water Revenue Dept.
       1401 JFK Blvd, 5th Floor
       Philadelphia, PA 19102
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0451
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Sterling Townhomes LLC                         Describe debtor's property that is subject to a lien                 $3,018,459.62   $5,500,000.00
       Creditor's Name                                2123 Spring Garden St.; 2125 Spring Garden
       c/o Fox Rothschild LLP                         St. and 1901 Green Street (all under same
       Attn: David M. Giles, Esq                      mortgage)
       2000 Market St. 20th Fl.
       Philadelphia, PA 19103
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0810
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 4
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                      Case 1-21-42983-jmm                            Doc 1   Filed 11/30/21            Entered 11/30/21 14:25:34


 Debtor       2123 Partners, LP                                                                 Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                         $3,043,203.5
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    8

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
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                       Case 1-21-42983-jmm                           Doc 1     Filed 11/30/21                  Entered 11/30/21 14:25:34


 Fill in this information to identify the case:

 Debtor name         2123 Partners, LP

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $550.99
           PECO                                                                 Contingent
           2310 Market St.                                                      Unliquidated
           Philadelphia, PA 19101                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Premises: 2125 Spring Garden St.
           Last 4 digits of account number      1809
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $551.62
           PECO                                                                 Contingent
           2310 Market St.                                                      Unliquidated
           Philadelphia, PA 19101                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Premises: 1909 Green St.
           Last 4 digits of account number      7019
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $476.74
           PECO                                                                 Contingent
           2301 Market St.                                                      Unliquidated
           Philadelphia, PA 19101                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Premises: 2123 Spring Garden St.
           Last 4 digits of account number      1505
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,462.50
           Philadelphia Gas Works                                               Contingent
           P.O. Box 11700                                                       Unliquidated
           Newark, NJ 07101                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Premises: 2125 Spring Garden Street
           Last 4 digits of account number      1814
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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 Debtor       2123 Partners, LP                                                                       Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $384.74
           Philadelphia Gas Works                                               Contingent
           P.O. Box 11700                                                       Unliquidated
           Newark, NJ 07101                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Premises: 2123 Spring Garden Street
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                      related creditor (if any) listed?                   account number, if
                                                                                                                                                          any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                                  0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                              3,426.59

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                                3,426.59




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 2
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                      Case 1-21-42983-jmm                            Doc 1    Filed 11/30/21      Entered 11/30/21 14:25:34


B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       2123 Partners, LP                                                                                Case No.
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  7,500.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  7,500.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Corey Berman

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 29, 2021                                                              /s/ Bruce Weiner
     Date                                                                           Bruce Weiner
                                                                                    Signature of Attorney
                                                                                    Rosenberg Musso & Weiner, LLP
                                                                                    26 Court Street
                                                                                    Suite 2211
                                                                                    Brooklyn, NY 11242
                                                                                    718-855-6840 Fax: 718-625-1966
                                                                                    courts@nybankruptcy.net
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Eastern District of New York
 In re      2123 Partners, LP                                                                                         Case No.
                                                                                    Debtor(s)                         Chapter         11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 2123 GP Corp                                                        General                                                     1%
 15 Hopping Avenue                                                   Partner
 Staten Island, NY 10307

 Corey M. Berman                                                     Limited Partner                                             49.5%
 15 Hopping Avenue
 Staten Island, NY 10307

 Keith Eagle                                                         Limited Partner                                             49.5%
 15 Hopping Avenue
 Staten Island, NY 10307


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Limited Partner of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date November 29, 2021                                                        Signature /s/ Corey M. Berman
                                                                                            Corey M. Berman

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                      Case 1-21-42983-jmm                            Doc 1    Filed 11/30/21    Entered 11/30/21 14:25:34




                                                               United States Bankruptcy Court
                                                                     Eastern District of New York
 In re      2123 Partners, LP                                                                             Case No.
                                                                                   Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       November 29, 2021                                          /s/ Corey M. Berman
                                                                        Corey M. Berman/Limited Partner
                                                                        Signer/Title

 Date: November 29, 2021                                                /s/ Bruce Weiner
                                                                        Signature of Attorney
                                                                        Bruce Weiner
                                                                        Rosenberg Musso & Weiner, LLP
                                                                        26 Court Street
                                                                        Suite 2211
                                                                        Brooklyn, NY 11242
                                                                        718-855-6840 Fax: 718-625-1966




USBC-44                                                                                                                      Rev. 9/17/98


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                   City of Philadelphia
                   Law Dept
                   Attn: Jugement Payoffs
                   1515 Arch Stret, 15th Fl.
                   Philadelphia, PA 19102


                   City of Philadelphia
                   Dept. of Licenses &
                   Inspections
                   1401 JFK Blvd, 11th Floor
                   Philadelphia, PA 19102


                   City of Philadelphia
                   Offic of Administative
                   Review - Code Unit
                   913 Filbert Street
                   Philadelphia, PA 19107


                   City of Philadelphia
                   Dept. of Licenses and
                   Inspections
                   1401 JFK Blvd, 11th Floor
                   Philadelphia, PA 19102


                   Commonwealth of PA
                   City of Phila BusinessTax
                   1401 JFK Blvd
                   Concourse Level
                   Philadelphia, PA 19102


                   Commonwealth of PA
                   City of Philadelphia
                   Water Revenue Dept.
                   1401 JFK Blvd, 5th Floor
                   Philadelphia, PA 19102


                   PECO
                   2310 Market St.
                   Philadelphia, PA 19101


                   PECO
                   2310 Market St.
                   Philadelphia, PA 19101


                   PECO
                   2301 Market St.
                   Philadelphia, PA 19101
Case 1-21-42983-jmm   Doc 1   Filed 11/30/21   Entered 11/30/21 14:25:34




               Philadelphia Gas Works
               P.O. Box 11700
               Newark, NJ 07101


               Philadelphia Gas Works
               P.O. Box 11700
               Newark, NJ 07101


               Sterling Townhomes LLC
               c/o Fox Rothschild LLP
               Attn: David M. Giles, Esq
               2000 Market St. 20th Fl.
               Philadelphia, PA 19103
                      Case 1-21-42983-jmm                            Doc 1   Filed 11/30/21      Entered 11/30/21 14:25:34




                                                               United States Bankruptcy Court
                                                                     Eastern District of New York
 In re      2123 Partners, LP                                                                             Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 2123 Partners, LP in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 29, 2021                                                    /s/ Bruce Weiner
 Date                                                                 Bruce Weiner
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for 2123 Partners, LP
                                                                      Rosenberg Musso & Weiner, LLP
                                                                      26 Court Street
                                                                      Suite 2211
                                                                      Brooklyn, NY 11242
                                                                      718-855-6840 Fax:718-625-1966
                                                                      courts@nybankruptcy.net




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